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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 CRYSTALLEX INTERNATIONAL CORP.,                    )
                                                    )
  Plaintiff,                                        )
                                                    ) No. 1:17-mc-00151-LPS
         v.                                         )
                                                    )
 BOLIVARIAN REPUBLIC OF VENEZUELA,                  )
                                                    )
  Defendant.                                        )
 ______________________________________

                                    NOTICE OF SERVICE

       The undersigned hereby certifies that copies of (1) the Fifth Supplemental Declaration of

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       The undersigned hereby further certifies that copies of (1) the Fifth Supplemental

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Master) and (2) the expert report and reliance materials of José Alberro, PhD were caused to be

served on July 9, 2025, following a confidentiality review by the Special Master, upon the

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       On July 14, 2025, the Court confirmed that CITGO and PDVH’s approach to the service

of these expert reports was appropriate. D.I. 1887 (“July Order”). In the July Order, the Court

also indicated that, going forward, any party who intended to submit a filing that contained

confidential information must first consult with the Special Master regarding the disclosure of such

confidential information and any measures that should be implemented to protect against the

disclosure of that information. The undersigned hereby certifies that after the Court issued the July

Order, copies of (1) the Fifth Supplemental Declaration of Randall J. Weisenburger (containing

redactions, as instructed by the Special Master) and (2) the expert report and reliance materials of

José Alberro, PhD were caused to be served on July 14, 2025, following a confidentiality review

by the Special Master, upon the following parties via electronic mail. The undersigned hereby

further certifies that copies of (3) Mr. Weisenburger’s reliance materials that contained

confidential sale process information were served on the above-named counsel for the Special

Master via electronic mail to review for confidentiality pursuant to D.I. 1887. Copies of (4) Mr.

Weisenburger’s reliance materials that did not contain confidential sale process information were

further served on the above-named counsel for the Special Master, Crystallex, ConocoPhillips,




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